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  6
                                 UNITED STATES DISTRICT COURT
  7
  8                            CENTRAL DISTRICT OF CALIFORNIA

  9   THERESA BROOKE, a married woman
      dealing with her sole and separate claim,      Case No:
 10
 11                           Plaintiff,             VERIFIED COMPLAINT
 12   vs.                                            (JURY TRIAL DEMANDED)
 13
      DANA POINT INN LLC, a California
 14   limited liability company,
 15
                              Defendant.
 16
             Plaintiff Theresa Marie Brooke alleges:
 17
                                               PARTIES
 18
             1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
 19
      and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
 20
      the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
 21
      California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
 22
      to the loss of a leg.
 23
             2.      Defendant, Dana Point Inn LLC, owns and/or operates and does business
 24
      as the hotel Best Western Plus Marina Shores Hotel located at 34280 Pacific Coast
 25
      Highway, Dana Point, California 92629. Defendant’s hotel is a public accommodation
 26
      pursuant to 42 U.S.C. § 12181(7)(A), which offers public lodging services. On
 27
      information and belief, Defendant’s hotel was built or renovated after March 15, 2012.
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  1                                          JURISDICTION
  2           3.    Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
  3   U.S.C. § 12188.
  4           4.    Plaintiff’s claims asserted herein arose in this judicial district and
  5   Defendant does substantial business in this judicial district.
  6           5.    Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
  7   in that this is the judicial district in which a substantial part of the acts and omissions
  8   giving rise to the claims occurred.
  9           6.    Pursuant to Arroyo v. Rosas, supplemental jurisdiction is appropriate over
 10   Plaintiff’s Unruh claim. On a case-specific analysis, there are no compelling reasons to
 11   decline jurisdiction.
 12                                          ALLEGATIONS
 13           7.    Plaintiff alleges that Defendant’s hotel does not provide wheelchair
 14   accessible access to its hotel through the hotel’s main entrance.
 15           8.    Plaintiff traveled to Orange County in mid-November 2022 for testing
 16   ADA compliance and leisure travel. She anticipates returning to Orange County several
 17   times in the next year for testing, leisure and checking on compliance with past testing.
 18   Plaintiff also has concrete plans to lodge at Defendant’s hotel in June 2023, but she will
 19   not honor her concrete plans if Defendant has not provided notice of remediation by
 20   then.
 21           9.    During this trip, Plaintiff personally visited Defendant’s hotel. When she
 22   approached the main entrance to the Hotel from the sidewalk, there are two sets of stairs
 23   leading to the main entrance, each with approximately ten steps. Being in a wheelchair,
 24   it is impossible for Plaintiff to navigate those stairs and enter the Hotel’s main entrance.
 25           10.   Plaintiff looked around for signs directing her to an accessible entrance,
 26   and she could not locate any such sign or any accessible entrances.
 27           11.   Plaintiff gained actual and personal knowledge of a barrier while visiting
 28   Defendant’s hotel, and as a result, she was deterred from entering the hotel. She


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  1   anticipates returning to this hotel and has concrete plans to do so in June 2023 (see
  2   above), but she will only lodge at the hotel if Defendant puts the required access aisle
  3   into place and gives notice of such remediation before her definitive return. Visiting
  4   otherwise would be futile because the lack of the access aisle represents a barrier to
  5   entering the lobby.
  6          12.    It is readily achievable to modify the hotel to provide an accessible
  7   entrance for Plaintiff and other disabled persons in a wheelchair.
  8          13.    Without injunctive relief, Plaintiff and others will continue to be unable to
  9   independently use Defendant’s hotel in violation of her rights under the ADA.
 10                                   FIRST CAUSE OF ACTION
 11          14.    Plaintiff incorporates all allegations heretofore set forth.
 12          15.    Defendant has discriminated against Plaintiff and others in that it has
 13   failed to make its public lodging services fully accessible to, and independently usable
 14   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
 15   121282(b)(2)(iv) and the 2010 Standards, as described above.
 16          16.    Defendant has discriminated against Plaintiff in that it has failed to
 17   remove architectural barriers to make its lodging services fully accessible to, and
 18   independently usable by individuals who are disabled in violation of 42 U.S.C.
 19   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
 20   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
 21   services nor result in an undue burden to Defendant.
 22          17.    In violation of the ADA, Defendant’s hotel main entrance is not
 23   accessible to Plaintiff and other persons who use a wheelchair.
 24          18.    Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
 25   as described above, is readily achievable by the Defendant. Id. Readily achievable
 26   means that providing access is easily accomplishable without significant difficulty or
 27   expense.
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  1          19.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
  2   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
  3          20.      Without the requested injunctive relief, Defendant’s non-compliance with
  4   the ADA to be fully accessible to, and independently useable by, disabled people is
  5   likely to recur.
  6          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
  7                a. Declaratory Judgment that at the commencement of this action Defendant
                      was in violation of the specific requirements of Title III of the ADA
  8                   described above, and the relevant implementing regulations of the ADA;
  9
                   b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
 10                   36.504(a) which directs Defendant to take all steps necessary to bring its
 11                   hotel into full compliance with the requirements set forth in the ADA;

 12                c. Payment of costs and attorney’s fees;
 13                d. Provision of whatever other relief the Court deems just, equitable and
 14                   appropriate.
                                    SECOND CAUSE OF ACTION
 15
             21.      Plaintiff realleges all allegations heretofore set forth.
 16
             22.      Defendant has violated the Unruh by denying Plaintiff equal access to its
 17
      public accommodation on the basis of her disability as outlined above.
 18
             23.      Unruh provides for declaratory and monetary relief to “aggrieved
 19
      persons” who suffer from discrimination on the basis of their disability.
 20
             24.      Plaintiff has been damaged by the Defendant’s non-compliance with
 21
      Unruh.
 22
             25.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
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      relief as the Court considers appropriate, including monetary damages in an amount of
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      $4,000.00, and not more.
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             26.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
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      amount to be proven at trial.
 27
             WHEREFORE, Plaintiff demands judgment against Defendant as follows:
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  1           a. Declaratory Judgment that at the commencement of this action Defendant
                 was in violation of the specific requirements of Unruh; and
  2
  3           b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                 36.504(a) which directs Defendant to take all steps necessary to bring its
  4              hotel into full compliance with the requirements set forth in the ADA;
  5
              c. Payment of costs and attorney’s fees;
  6
              d. Damages in the amount of $4,000.00; and
  7
  8           e. Provision of whatever other relief the Court deems just, equitable and
                 appropriate.
  9                             DEMAND FOR JURY TRIAL
 10        Plaintiff hereby demands a jury trial on issues triable by a jury.
 11
 12        RESPECTFULLY SUBMITTED this 11th day of December, 2022.
 13
 14                                            /s/ P. Kristofer Strojnik
                                               P. Kristofer Strojnik (242728)
 15                                            Attorneys for Plaintiff
 16
 17                                       VERIFICATION
 18
           I declare under penalty of perjury that the foregoing is true and correct.
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                         DATED this 11th day of December, 2022.
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 21
 22
 23
 24        Theresa Marie Brooke

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